         Case 1:18-cv-02084-RC Document 69-1 Filed 08/03/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 THE AMERICAN HOSPITAL
 ASSOCIATION,
 et al.,

                     Plaintiffs,                     Civil Action No. 18-2084 (RC)

                        –v–

 XAVIER BECERRA, in his official capacity as
 the Secretary of Health and Human Services, et
 al.,

                    Defendants.


                                         [PROPOSED]
                                           ORDER

       Having considered Plaintiffs’ Motion to Hold Unlawful and Remedy Defendants’ Past

Underpayment of 340B Drugs, and the opposition thereto, the Motion is GRANTED; it is

       DECLARED that Defendants’ policy of underpaying for 340B Drugs pursuant to the

2020, 2021, and 2022 OPPS Rules is unlawful; it is

       ORDERED that Defendants must pay 340B hospitals, for all claims that were paid a rate

of ASP minus 22.5% pursuant to the 2018 through 2022 OPPS Rules, the difference between the

amounts that were paid and the amounts that would have been paid on those claims at a rate of

ASP plus 6%, plus applicable interest under 42 C.F.R. § 405.378 or otherwise; it is

       ORDERED that Defendants may not offset these remedial payments through other

changes designed to achieve budget neutrality; and it is

       ORDERED that Defendants must file a status report within 30 days of this Order, and

every 30 days thereafter, concerning their remedial efforts.
          Case 1:18-cv-02084-RC Document 69-1 Filed 08/03/22 Page 2 of 2




         The Court will retain jurisdiction of this case to ensure Defendants’ compliance with this

Order.



Dated: ________________, 2022                 _______________
                                              Hon. Rudolph Contreras
                                              United States District Judge
